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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )    Chapter 11
                                                          )
    WARDMAN HOTEL OWNER, L.L.C., 1                        )    Case No. 21-10023 (JTD)
                                                          )
                            Debtor.                       )
                                                          )    Related to Docket No. 358

           NOTICE OF (I) OCCURRENCE OF EFFECTIVE DATE AND
(II) DEADLINES FOR FILING CERTAIN CLAIMS AND REQUESTS FOR PAYMENT
TO: CREDITORS, EQUITY HOLDERS, AND OTHER PARTIES IN INTEREST:
        1.     Confirmation and Occurrence of Effective Date. On September 20, 2021, the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) confirmed
the Debtor’s Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code, dated
August 18, 2021 (the “Plan”), which was attached as Exhibit A to the Order Granting Final
Approval of Disclosure Statement and Confirming Debtor’s Plan of Liquidation Pursuant to
Chapter 11 of the Bankruptcy Code [Docket No. 358] (the “Confirmation Order”).2 The Effective
Date, as defined in the Plan, occurred on October 28, 2021. The release, exculpation, and
injunction provisions of the Plan are now in full force and effect.
             2.   Bar Dates and Deadlines:
                a.      Rejection Bar Date. All proofs of claim with respect to Claims arising from
the rejection of executory contracts or unexpired leases, if any, pursuant to the Confirmation Order,
must be filed with the Bankruptcy Court so as to be actually be received by Bankruptcy Court on
before November 29, 2021 (the “Rejection Bar Date”) either (1) electronically through the
interface available at http://www.deb.uscourts.gov/claims-information or (2) by first class
overnight U.S. mail or by other hand delivery system at the following address: United States
Bankruptcy Court; Attn: Claims; 824 Market Street, 3rd Floor; Wilmington, DE 19801. Any Claim
arising from the rejection of an executory contract or unexpired lease pursuant to the Confirmation
Order that is not filed within such times will be subject to objection. All such Claims for which
Proofs of Claim are timely and properly filed and ultimately Allowed will be treated as General
Unsecured Claims subject to the provisions of Article III of the Plan.
               b.     Second Administrative Expense Bar Date. Except as otherwise provided
by the Confirmation Order, the Plan, or a Final Order of the Court, the deadline for filing requests
for payment of Administrative Claims that arose on or after June 1, 2021, shall be filed so as to be
actually received on or before December 27, 2021 (which is 60 days after the Effective Date).

1
 The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is 5996
Mitchell Road, #16, Atlanta, GA 30328.
2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan and the
Confirmation Order, as applicable.
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Any Administrative Claims must be filed at the address set forth in paragraph 2(a) of this notice.
                 c.     Professional Fee Claims Deadline. Pursuant to the Plan, the deadline to file
final requests for payment of Professional Fee Claims is December 27, 2021 (which is 60 days
after the Effective Date, the “Professional Fee Claims Deadline”). All Professionals must file final
requests for payment of Professional Fee Claims by no later than the Professional Fee Claims
Deadline to receive final approval of the fees and expenses incurred in this Chapter 11 Case on or
after the Petition Date and prior to and including the Effective Date.
        3.      Binding Effect. The provisions of the Plan shall bind the Debtor, the Liquidating
Trust, the Liquidating Trustee, any Entity acquiring property under the Plan, any Beneficiary, and
any Creditor or Equity Interest Holder, whether or not such Creditor or Equity Interest Holder has
filed a Proof of Claim or Equity Interest in the Chapter 11 Case, whether or not the Claim of such
Creditor or the Equity Interest of such Equity Interest Holder is impaired under the Plan, and
whether or not such Creditor or Equity Interest Holder has accepted or rejected the Plan. All
Claims and Debts shall be fixed and adjusted pursuant to this Plan.
        4.    Access to Documents. Copies of the Plan, the Confirmation Order, and any other
related documents are available on the Court’s website: www.deb.uscourts.gov. Please note that
a PACER password and login are needed to access documents on the Bankruptcy Court’s website.

Dated: October 29, 2021                      PACHULSKI STANG ZIEHL & JONES LLP


                                             /s/ Timothy P. Cairns
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                                             David M. Bertenthal (CA Bar No. 167624)
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